Case 1:24-cr- 10016¢STA ‘Document 18 Filed 05/08/24 cPage 1ofi PagelD 79
Case 1:24-cr-10016-STA Document 8 Filed 04/22/24 Pagelof2 PagelD 69.

AO 442 (Rev. 11/11) Arrest Warrant . {3377 SU

UNITED STATES DISTRICT COURT
for the

Western District of Tennessee

United States of America

Vv. )
) Case No. 1:24-cr-10016-STA

PHILIP STEPHEN PLYLER

)

)

Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person_to_be arrested) PHILIP_STEPHEN.PLYLER - “ ,

who is accused of an offense or violation based on the following document filed with the court:

(Indictment [1 Superseding Indictment [1 Information [7 Superseding Information [1 Complaint’
[1 Probation Violation Petition [1 Supervised Release Violation Petition Violation Notice (7 Order of the Court —
This offense is briefly described as follows:

18 U.S.C §2423(a) - Transporting a minor in interstate commerce with intent that the minor engage in
any sexual-activity for which any person can be charged with a criminal offense;

illicit sexual conduct with another person
18 U.S.C. §2423 - Attempting and conspiring to voilate the above s

Date: 4/22/2024

City and state: Jackson, Tennessee

CoE ae

Return

This warrant was received on (date) no a4 , and the person was arrested on (date) ST SG / ZY.
. : 7 Jy?

at (city and state)

Date: Sofa Tihs Wey puch be

Arrdbting officer's signature’

Bean's US a ag fief LY fe we

f P&nted name and title

